 Case 9:12-cv-00074-RC Document 47 Filed 05/02/13 Page 1 of 1 PageID #: 278



                           **NOT FOR PRINTED PUBLICATION**

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

SWIPE INNOVATIONS, LLC                          §
                                                §
                      Plaintiff,                §
                                                §      Civil Action No. 9-12-CV-74
v.                                              §
                                                §      JUDGE RON CLARK
TRANSFIRST HOLDINGS, INC.                       §
               Defendant.                       §
                                                §
                                                §

                                   ORDER OF DISMISSAL

       Before the court is the parties’ stipulation of dismissal pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii). [Doc. # 46]. The court is of the opinion the stipulation should be entered and

this case dismissed. It is ORDERED that all claims and counterclaims in this suit between

Plaintiff Swipe Innovations LLC and Defendant Transfirst Holdings, Inc. are dismissed with

prejudice, subject to the terms of an April 17, 2013 “Settlement and License Agreement”. It is

further ORDERED that costs of court and attorneys fees shall be taxed against the party

incurring same.

         So ORDERED and SIGNED this 2 day of May, 2013.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge
